              Case 2:12-cv-01282-JLR Document 690 Filed 11/03/21 Page 1 of 2




 1                                                            THE HONORABLE JAMES L. ROBART

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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
     UNITED STATES OF AMERICA,                         )
 9                                                     )   Case No. 2:12-cv-01282-JLR
                                    Plaintiff,         )
10                                                     )   CITY OF SEATTLE’S PRAECIPE TO
                    v.                                 )   CORRECT ERROR IN OCTOBER 2021
11                                                     )   QUARTERLY REPORT
     CITY OF SEATTLE,                                  )
12                                                     )
                                    Defendant.         )
13                                                     )
                                                       )
14                                                     )
                                                       )
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            Pursuant to Local Civil Rule 7(m), the City of Seattle hereby requests that the Court
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     consider the attached, corrected version of the City’s October 2021 Quarterly Accountability
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     Report in place of the version that the City filed on October 29, 2021, at docket entry number 689.
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     The City has discovered that the percentages provided in Table 6 in Section IV are incorrect. See
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     Dkt. 689 at 17. In addition, the text describing Table 6 includes an incorrect range. Id. at 17:15. In
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      CITY OF SEATTLE’S PRAECIPE TO CORRECT ERROR IN                                   Peter S. Holmes
                                                                                       Seattle City Attorney
      OCTOBER 2021 QUARTERLY REPORT - 1                                                701 Fifth Avenue, Suite 2050
      (12-CV-01282-JLR)                                                                Seattle, WA 98104
                                                                                       (206) 684-8200
              Case 2:12-cv-01282-JLR Document 690 Filed 11/03/21 Page 2 of 2




 1   the revised, attached filing, a corrected version of Table 6 and corrected accompanying text have

 2   been substituted in place of the incorrect table and text.

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 5   Respectfully submitted,

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     DATED this 3rd day of November, 2021.
 7
            For the CITY OF SEATTLE
 8
            PETER S. HOLMES
 9          Seattle City Attorney

10          s/ Kerala T. Cowart       ____
            Kerala T. Cowart, WSBA #53649
11
            Assistant City Attorney
12          Seattle City Attorney’s Office
            701 Fifth Avenue, Suite 2050
13          Phone: (206) 733-9001
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14          Email: kerala.cowart@seattle.gov

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      CITY OF SEATTLE’S PRAECIPE TO CORRECT ERROR IN                               Peter S. Holmes
                                                                                   Seattle City Attorney
      OCTOBER 2021 QUARTERLY REPORT - 2                                            701 Fifth Avenue, Suite 2050
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                                                                                   (206) 684-8200
